Case 2:OO-cV-02608-STA-tmp Document 380 Filed 08/02/05 Page 1 of 3 Page|D 369

HLED BY __%_ p_¢_
IN THE UNITED STATES DISTRICT COURT 05 AUG_ _2 A _
FOR THE WESTERN DISTRICT OF TENNESSEE H 63 he

 

 

WESTERN DIVISION TI'|OMAS M. GOU_D -
- CLEPK. US\ EtSTF§CT OOLBT
MARILYN JOHNSON, et al.,
Plaintiffs, Case No.: 00-2608 D
v.
CITY OF MEMPHIS,
Defendant.
ORDER

 

Before the court is Plaintiff’s October 18, 2004 Motion to Compel (Dooket # 279).

The matter has been tried on the merits. Accordingly, the motion has been rendered moot and is

hereby stricken.

 

IT ls so oRDERED this A% day of ,2005.
Q@%,€/
E ICE BOUE DoI\tALD ‘
ED sTATES DISTRICT JUDGE

   

‘ ’* oket*“
Th§e. document entered on the qo o

with Rule 58 andfor 79{3; FF\‘UP on

 

ESTERN 1

Notice of Distribution

This notice confirms a copy of the document docketed as number 380 in
case 2:00-CV-02608 Was distributed by faX, mail, or direct printing on
August 4, 2005 to the parties listed.

EsSEE

 

Keith R. Thornas

FORD & HARRISON, LLP- Ridge Lake Blvd.

795 Ridge Lake Blvd.
Ste. 300
1\/lemphis7 TN 38120

Louis P. Britt

FORD & HARRISON, LLP- Ridge Lake Blvd.

795 Ridge Lake Blvd.
Ste. 300
1\/lemphis7 TN 38120

David 1\/1. Sullivan

LAW OFFICES OF DAV]D M. SULLIVAN
3251 Poplar Ave.

Ste. 130

1\/lemphis7 TN 38111

Delaine R. Srnith

FORD & HARRISON, LLP- Ridge Lake Blvd.

795 Ridge Lake Blvd.
Ste. 300
1\/lemphis7 TN 38120

Earle J. SchWarZ
GLANKLER BROWN, PLLC
One Cornmerce Square

Suite 1700

1\/lemphis7 TN 38103

Sara L. Hall

CITY ATTORNEYS OFFICE
125 N. Main Street

Rm. 3 14

1\/lemphis7 TN 38103

Case 2:OO-cV-02608-STA-tmp Document 380 Filed 08/02/05 Page 3 of 3 Page|D 371

Ricky E. Wilkins

LAW OFFICE OF RICKY E. WILKINS
119 S. Main St.

Ste. 700

1\/lemphis7 TN 38103

Honorable Bernice Donald
US DISTRICT COURT

